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                                                                        ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT
                                                                        DOC #: _________________
SOUTHERN DISTRICT OF NEW YORK
                                                                        DATE FILED: 1/25/21
------------------------------------------------------------------X
JOSEPH SPADAFORA and GUDELIA LEVINE, :
                                                                  :
                                                    Plaintiffs, :
                                                                  :        1:19-cv-6631-GHW
                              -against-                           :
                                                                  :            ORDER
THE STANDARD FIRE INSURANCE                                       :
COMPANY,                                                          :
                                                                  :
                                                 Defendant. :
------------------------------------------------------------------X


GREGORY H. WOODS, United States District Judge:
         A jury trial in this matter will begin on September 13, 2021 at 9:00 a.m. The jury trial will

be held in the United States District Court for the Southern District of New York, Daniel Patrick

Moynihan U.S. Courthouse at 500 Pearl Street, New York, New York 10007, in a courtroom to be

identified closer to trial.

          SO ORDERED.

 Dated: January 24, 2021                                      _____________________________________
                                                                       GREGORY H. WOODS
                                                                      United States District Judge
